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                  IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION

IN RE:                         §                CASE NO. 25-30155
                               §
ALLIANCE FARM AND RANCH, LLC,  §                (CHAPTER 11)
                               §
      DEBTOR                   §
                               §
                               §
IN RE:                         §                CASE NO. 25-31937
                               §
ALLIANCE ENERGY PARTNERS, LLC, §                (CHAPTER 11)
                               §
      DEBTOR                   §                JOINTLY ADMINISTERED



                      DEBTORS’ WITNESS AND EXHIBIT LIST

                      UNITED STATES BANKRUPTCY COURT
                        SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

Case No: 25-30155                     Name of Debtor:
                                      Alliance Farm and Ranch, LLC
                                      Alliance Energy Partners, LLC
                                      Jointly Administered

Witnesses:                            Judge: Alfredo Perez
    1. Jerod Furr
    2. Deborah Crain
    3. Timothy L. Wentworth
    4. Dustin Etter
    5. Witnesses called by opposing
       counsel

                                      Hearing Date: May 20, 2025
                                      Hearing Time: 10:00 a.m.
                                      Party Names:
                                      Alliance Farm and Ranch, LLC
                                      Alliance Energy Partners, LLC
                                      Attorney’s Name: Timothy L. Wentworth
                                      Attorney’s Phone: (713) 228-4100
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 Nature of Proceedings:

          Hearing on Emergency Motion to Convert Chapter 11 Cases to Chapter 7 (Docket No. 68),
          Application for an Order Pursuant to Sections 327(a) and 328(a) of the Bankruptcy Code
          Authorizing the Employment and Retention of Okin Adams Bartlett Curry LLP as Counsel
          for the Debtor (Docket No. 26) and Application for an Order Pursuant to Section 327 of
          The Bankruptcy Code Authorizing the Employment and Retention of Deborah L. Crain and
          E-Merger Law, PLLC as Special Counsel for the Debtor (Docket No. 31)

Ex.#                    Description              Offered    Objection    Admitted/    Disposition
                                                                           Not
                                                                         Admitted
 1      Okin Adams Engagement Agreement –             X
        Alliance Energy Partners

 2      Okin Adams Engagement Agreement –             X
        Alliance Farm and Ranch

 3      Declaration of Timothy L. Wentworth           X

 4      Amended Declaration of Timothy L.             X
        Wentworth

 5      Crain Engagement Agreement                    X

 6      Crain CV                                      X

 7      Declaration of Deborah Crain                  X



 Respectfully submitted this 16th day of May, 2025.

                                              By:      /s/ Timothy L. Wentworth
                                              Timothy L. Wentworth
                                              Texas Bar No. 21179000
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                                              PROPOSED ATTORNEYS FOR ALLIANCE
                                              FARM AND RANCH, LLC




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